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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Steven Verba,                                   Case No. 16-cv-3308-DSD-KMM
              Plaintiff,

v.                                                     RULE 26(f) REPORT

Kone, Inc.,

              Defendant.


       The parties/counsel identified below conferred as required by Fed. R.
 Civ/ P. 26(f) and the Local Rules on November 14, 2016, and prepared the
 following report.

        The initial pretrial conference required under Fed. R. Civ. P. 16 and LR 16.2
 is scheduled for Tuesday, December 6, 2016, at 9:30 a.m. before the United States
 Magistrate Judge Kate Menendez in Courtroom 8E of the U.S. Courthouse in
 Minneapolis, Minnesota.

       This Report is based on Form 3 in the Local Rules, but is customized with
 additional topics.

       Counsel have reviewed the amendments to the Federal Rules of Civil
 Procedure effective December 1, 2015, and are familiar with the amendments.

 DESCRIPTION OF THE CASE

       1.     Concise factual summary of plaintiff’s claims:

       Plaintiff Steven Verba (“Plaintiff” or “Verba”) was employed by Defendant
       Kone, Inc. (“Defendant” or “Kone”) as an Assistant Mechanic at its Eagan,
       MN facility from December 2014 through May 1, 2015. In February of 2015,
       Plaintiff experienced a workplace injury. After receiving treatment,
       Plaintiff received work restrictions from his physician, which he
       transmitted to Defendant. Defendant reduced Plaintiff’s hours to 2 hours
       per week, beginning on March 2, 2015. Then, on May 1, 2015, Plaintiff was
       told not to return to work until he no longer had any work restrictions.
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      Then, on July 17, 2015, Plaintiff informed Defendant he had been cleared to
      work without restrictions, but Defendant told him there were no available
      positions and did not return him to work. However, this statement was
      false and pretextual, as there were positions available to Plaintiff at
      Defendant as of July 17, 2015. Plaintiff brings four causes of action against
      Defendant in this lawsuit, including: (1) disability discrimination in
      violation of the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq.
      (“ADA”); (2) retaliation in violation of the ADA; (3) reprisal in violation of
      the Minnesota Human Rights Act (“MHRA”), Minn. Stat. § 363A.01, et
      seq.; and (4) retaliation in violation of the Minnesota Workers
      Compensation Act, Minn. Stat. § 176.82.

      2.    Concise factual summary of defendants’ claims/defenses:

            Defendant denies that it committed any unlawful practices and
            denies all allegations of wrongdoing in the Complaint. Defendant
            therefore denies liability for the allegations in the Complaint.
            Defendant further denies that Plaintiff is disabled under the
            Americans with Disabilities Act, asserts that Plaintiff’s claims are
            barred by Plaintiff’s failure to exhaust administrative, contractual
            and/or statutory remedies, and asserts that Plaintiff has failed to
            mitigate his damages, among other defenses. Defendant denies that
            plaintiff is entitled to any relief and requests dismissal of Plaintiff’s
            claims in their entirety.

      3.    Statement of jurisdiction (including statutory citations):

     Jurisdiction is proper pursuant to 28 U.S.C. §§ 1331 and 1367(a). Venue is
proper in this Court pursuant to 28 U.S.C. § 1391(b).

      4.    Summary of factual stipulations or agreements: None.


      5.    Statement of whether a jury trial has been timely demanded by any
            party:

            Plaintiff seeks a jury trial.




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      6.    Statement as to whether the parties agree to resolve the matter
            under the Rules of Procedure for Expedited Trials of the United
            States District Court, District of Minnesota, if applicable:

            The parties do not agree to resolve the matter under the Rules of
            Procedure for Expedited Trials.

      7.    Statement as to whether all process has been served, all pleadings
            filed and any plan for any party to amend pleadings or add
            additional parties to the action:

       Plaintiff has served process on Defendant and Defendant has answered.
Though no party intends to amend their pleadings or add any additional parties
at this time, discovery has not commenced and both Plaintiff and Defendant
reserve the right to amend their pleadings or add additional parties.

FACT DISCOVERY

       Having conferred about the unique needs of this case, and mindful of the
goal of efficiency, the parties recommend that the Court establish the following
fact discovery deadlines and limitations:

      1.    The parties must make their initial disclosures under Fed. R. Civ. P.
            26(a)(1) on or before December 30, 2016. If the parties plan to
            disclose documents by a description by category and location of
            documents, they will exchange copies of initial disclosure
            documents on or before January 31, 2017.

      2.    The parties must commence fact discovery in time to be completed
            by July 14, 2017. The parties will discuss whether a date for the
            substantial production of documents should be set within the fact-
            discovery period to facilitate the taking of depositions.

      3.    The parties have discussed the scope of discovery, including
            relevance and proportionality, and propose that the Court limit each
            side's use and numbers of discovery procedures as follows:

            a.    no more than 25 interrogatories may be served by one party
                  on another party



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       b.   no more than 25 document requests may be served by one
            party on another party

            The parties understand that objections to document requests
            must meet the requirements of amended Rule 34(b)(2)(B). If
            the responding party is producing copies of documents or
            copies of electronically stored information and the copies are
            not produced with the responses, another reasonable time
            must be specified in the response. If the requesting party
            disagrees that this is reasonable, the parties must meet and
            confer to agree on the timetable for production.

       c.   no more than 10 requests for admission may be served by one
            party on another party, not including requests for admission
            regarding the authenticity of documents

            The parties have discussed a protocol for the authentication of
            documents and agree on the following:

            Requests for admission as to the authenticity of documents
            shall not count toward the limitation of 10 requests for
            admission.

       d.    10 factual depositions

       e.   The parties have discussed the taking of depositions pursuant
            to Rule 30(b)(6) and present the following agreement:

            The parties anticipate the deposition of a corporate
            representative from the defendant. The parties agree that the
            deposition of the corporate representative for any party will
            not exceed 7 hours as set forth in the Federal Rules of Civil
            Procedure.

      f.     1 Rule 35 medical examinations, if warranted, which will be
            completed by July 14, 2017. Plaintiff is not claiming a current
            disability through this action, so Defendant does not
            anticipate a Rule 35 medical examination at this time, but
            reserves the right to conduct a Rule 35 medical examination if
            warranted.


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EXPERT DISCOVERY

    1.   The parties anticipate that they will require expert witnesses at the
         time of trial.

         a.    The plaintiff anticipates calling 2 experts in the fields of
               economic damages and emotional distress.

         b.    The defendant anticipates calling rebuttal expert witnesses.

    2.   The parties propose that the Court establish the following plan for
         expert discovery:

         a.     Initial experts

               i.     The identity of any expert who may testify at trial
                      regarding issues on which the party has the burden of
                      persuasion must be disclosed on or before August 11,
                      2017.

               ii.    The initial expert written report completed in
                      accordance with Fed. R. Civ. P. 26(a)(2)(B) must be
                      served on or before August 11, 2017.

         b.    Rebuttal experts

               i.     The identity of any experts who may testify in rebuttal
                      to any initial expert must be disclosed on or before
                      September 11, 2017.

               ii.    Any rebuttal expert's written report completed in
                      accordance with Fed. R. Civ. P. 26(a)(2)(B) must be
                      served on or before September 11, 2017.

    3.   All expert discovery, including expert depositions, must be
         completed by October 11, 2017.

OTHER DISCOVERY ISSUES



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 1.   Protective Order

      The parties have discussed whether they believe that a protective
      order is necessary to govern discovery and jointly submit a
      proposed protective order based on Form 6 that incorporates the
      required language in the Court’s Notice of Pretrial Conference.

 2.   Discovery of Electronically Stored Information

      The parties have discussed the scope of electronic discovery,
      including relevance and proportionality, and any issues about
      preserving electronic discovery. The parties have also discussed the
      form or forms in which electronic discovery should be produced.
      They inform the Court of the following agreements or issues: None
      at this time.

      The Court refers counsel to "Discussion of Electronic Discovery at
      Rule 26(f) Conferences: A Guide for Practitioners," developed by the
      Federal Practice Committee, to help attorneys and parties prepare
      for a meaningful discussion of electronic discovery issues early in
      the litigation. The Guide is available on the Court's website under
      the Court Forms tab, in the "Pretrial, Discovery, and Trial Forms"
      section.

      The parties will further meet and confer by December 31, 2017, to
      discuss their plan or formal protocol for electronic discovery. They
      agree to present any disputes regarding an electronic discovery plan
      and protocol to the Court by January 31, 2017.

 3.   Claims of Privilege or Protection

      The parties have discussed issues regarding the protection of
      information by a privilege or the work-product doctrine, as required
      by Fed. R. Civ. P. 26(f)(3)(D). This discussion included whether the
      parties agree to a procedure to assert these claims after production
      or have any other agreements under Fed. R. Evidence 502. The
      parties: Will include their agreement in the proposed Protective
      Order.

 4.   The parties:


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           Agree that a party should be required to request an informal
            conference with the Court before filing any discovery motion.


           Agree that a party should not be required to request an informal
            conference with the Court before filing a discovery motion.


          X Do not agree that a party should be required to request an
          informal conference with the Court before filing a discovery motion.

          Plaintiff does not agree at this time that a party should be required
          to request an informal conference with the Court before filing any
          discovery motion. Defendant is agreeable to requiring that a party
          should be required to request an informal conference with the Court
          before filing a discovery motion, but requires that both parties
          follow the same procedure.

PROPOSED MOTION SCHEDULE

    The parties propose the following deadlines for filing motions:

    1.    Motions seeking to join other parties must be filed and served by
          January 13, 2017.

    2.    Motions seeking to amend the pleadings must be filed and served by
          January 13, 2017.

    3.    Non-dispositive motions:

          a.    All non-dispositive motions relating to fact discovery must be
                filed and served by August 18, 2017.

          b.    All other non-dispositive motions, including motions relating
                to expert discovery, must be filed and served by October 30,
                2017.

          The parties must meet and confer to resolve all discovery disputes
          and other non-dispositive issues prior to filing any motions.


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      4.      All dispositive motions must be filed, served, and heard by
              November 13, 2017.

TRIAL-READY DATE

      1.      The parties agree that the case will be ready for trial on or after
              January 5, 2018.

      2.      The anticipated length of the jury trial is -
                                                          4 days.

      3.      The parties propose that the final pretrial conference be held on or
              before December 1, 2017.

INSURANCE CARRIERS/INDEMNITORS

      List all insurance carriers/indemnitors, including limits of coverage of
each defendant or statement that the defendant is self-insured.

      None.

SETTLEMENT

       The parties discussed settlement at the Rule 26(f) meet-and-confer and
each party has contemporaneously e-mailed a confidential letter setting forth
what settlement discussions have taken place and whether the party believes an
early settlement conference would be productive, as provided in Magistrate
Judge Menendez's Notice of Pretrial Conference.

TRIAL BY MAGISTRATE JUDGE

      The parties have not agreed to consent to jurisdiction by the Magistrate
Judge under 28 U.S.C. § 636(c). (If the parties agree to consent, file the consent
with the Rule 26(f) Report.)




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